Case 1:13-cv-13086-JGD Document 38-7 Filed 07/15/15 Page 1of2

Exhibit F
Case 1:13-cv-13086-JGD Document 38-7 Filed 07/15/15 Page 2 of 2

February 19, 2015

Dmitry Lev, Esq.

Law Offices of D. Lev, PC
134 Main Street
Watertown, MA 02472

Re: Simeon Niles v. Town of Wakefield, et al.
United States District Court No. 1:13-cv-13086-GAO

Dear Attorney Lev:
Enclosed please find the following documents regard to the above-referenced matter.

1. Supplemental Requests for Production of Documents of the Defendants to be
Answered by the Plaintiff; Simeon Niles;

2. Supplemental Interrogatories of the Defendants to be Answered by the Plaintiff,
Simeon Niles; and

3. Certificate of Service.
If you should have any questions, please do not hesitate to call me.

Very truly yours,

Chantelle M. D'Angelo

CMD/tap

Enc.
13 TRI109
